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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JONATHAN BROWNLEE, III,                         :     Civil No. 3:19-CV-1534
                                                :
                Plaintiff,                      :
                                                :     (Judge Mannion)
      v.                                        :
                                                :     (Magistrate Judge Carlson)
MELISSA SNYDER, MONROE                          :
COUNTY CHILDREN AND YOUTH                       :
SERVS.,                                         :
                                                :
                Defendant.                      :

                                        ORDER

      The background of this order is as follows:

      The plaintiff filed this pro se complaint without paying the filing fee or moving

to proceed in forma pauperis. On September 25, 2019, we entered an order directing

the plaintiff to either pay the filing fee or move for leave to proceed in forma pauperis

by October 9, 2019. (Doc. 7). Due to the plaintiff’s failure to pay the filing fee or file

a motion seeking to proceed in forma pauperis, on December 10, 2019, we

recommended that the plaintiff’s case be dismissed. (Doc. 9).

      The plaintiff now seeks an extension of time to file his motion for leave to

proceed in forma pauperis. (Doc. 10). Brownlee contends that he filled out the IFP

paperwork and mailed it to the court in a timely manner, but the paperwork was lost



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in the mail. (Id.) Thus, he now asks the court for an extension of time to file his motion

seeking leave to proceed in forma pauperis.

      Accordingly, we will VACATE our Report and Recommendation (Doc. 9),

which recommended dismissal of Brownlee’s complaint due to his failure to pay the

filing fee or file his motion seeking IFP status and direct the Clerk of Court to re-send

the IFP forms to the plaintiff. The plaintiff shall file his motion seeking IFP status on

or before January 3, 2020.

      SO ORDERED this 19th day of December 2019.



                                        /s/ Martin C. Carlson
                                        Martin C. Carlson
                                        United States Magistrate Judge




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